               Case:    5:06-cr-00071-JMH-CJS Doc #: 164 Filed: 09/07/16 Page: 1 of 6 - Page ID#: 1276
                                                                                                                                    Eastern District of Kentucky
                                                                                                                                                  ICh~gJwiPAsterisks(*))
A0245C          (Rev. 09/11) Amended Judgment in a Criminal Case
                 Sheet 2 -    Imprisonment                                                                                      (NOTE: Ide!fy

                                                                                                                                           SEP 0 7 2016
                                                UNITED STATES DISTRICT COURT
                                                                                                                                             AT LEXiNGTON
                                             Eastern District of Kentucky - Central Division at Lexington                                  ROBERT R. CARR
                                                                                                                                       CLERK U.S. DISTRICT COURT
               UNITED STATES OF AMERICA                                                    AMENDED JUDGMENT IN A CRIMINAL CASE
                                     v.
                       James Clifton Barnett                                               Case Number:                     5:06-CR-71-JMH-l
                                                                                           USM Number:                      10909-032
 Date of Original Judgment: April 23, 2007                                                     Patrick Nash
 (Or Date of Last Amended Judgment)                                                        Defendant's Attorney
 Reason for Amendment:
 D      Correction of Sentence on Remand (18 U.S C. 3742(t)(I) and (2))                    D    Modification of Supervision Conditions (18 U.S.C §§ 3563(c) or 3583(e))
 0      Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                     0    Modification oflmposed Term of Imprisonment for Extraordinary and
        p 35(b))                                                                                Compelling Reasons (18 U.S.C § 3582(c)(I))
 0      Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))                D    Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
 D Correction of Sentence for Clerical Mistake (Fed.     R. Crim. P. 36)
                                                                                                to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
                                                                                           [:gi Direct Motion to District Court Pursuant   [:gi   28 U.S.C § 2255 or
                                                                                                D 18 u.s.c § 3559(c)(7)
                                                                                           D    Modification ofRestitution Order (18 U.S.C. § 3664)
 THE DEFENDANT:
 D pleaded guilty to count(s)
 D       pleaded nolo contendere to count(s)
         which was accepted by the court.
 [:gJ    was found guilty on count(s) 1, 5, 6, 7, & 8
                                               --'---'---"---'-~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~

         after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

 Title & Section             Nature of Offense                                                                                       Offense Ended              Count
      18:2119                Car Jacking                                                                                                 417105                   1
      18: 1114               Attempted Murder of Federal Law Enforcement Officer                                                        4112106                   5
   18:11 l(a)(I)             Assaulting, Resisting, Impeding Federal Law Enforcement Officer                                            4112106                   6
   18:924(c)(I)              Discharging Firearm During & in Relation to Crime of Violence                                              4112106                   7
   18:922(g)(l)              Felon in Possession of a Firearm                                                                           4112106                   8
   & 18:924(e)(l)

            The defendant is sentenced as provided in pages 2                     through 6
                                                                              ~~~~=-~~~
                                                                                                      of this judgment. The sentence is imposed pursuant to
 the Sentencing Reform Act of 1984.
 D       The defendant has been found not guilty on count(s)

 D       Count(s)   ~~~~~~~~~~~~~~~~~
                                                                              D   is   D        are dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.




                                                                                            ign ure of Judge
                                                                                             onorable Joseph M. Hood, Sr. U.S. District Judge



                                                                                           Date
A0245C
             Case:    5:06-cr-00071-JMH-CJS Doc #: 164 Filed: 09/07/16 Page: 2 of 6 - Page ID#: 1277
              (Rev. 09/11) Amended Judgment in a Criminal Case
              Sheet 2 -   Imprisonment                                                                        (NOTE: Identify Changes with Asterisks(*))
                                                                                                         Judgment -   Page      2        of         6
  DEFENDANT:                        James Clifton Barnett
  CASE NUMBER:                      5 :06-CR-71-JMH-l

                                                               IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
  total term of: 180 months on Count 1; 240 months on Counts 5 & 6; 120 months on Count 8, to run concurrently with
  each other; 120 months on Count 7, to run consecutively, for a TOTAL TERM OF 360 MONTHS


  [:gJ   The court makes the following recommendations to the Bureau of Prisons:
         That the defendant participate in the substance abuse programming while incarcerated.
         That the defendant participate in social skills training during his term of imprisonment.
         That the defendant participate in educational and/or vocational programming, as appropriate, during incarceration.
         That the defendant be designated to either McCreary or Big Sandy Penitentiary.

  [:gJ   The defendant is remanded to the custody of the United States Marshal.

  0      The defendant shall surrender to the United States Marshal for this district:
         0      at                                0     a.m.      0     p.m.      on
         0      as notified by the United States Marshal.

  0      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         0      before 2 p.m. on
         0      as notified by the United States Marshal.
         0      as notified by the Probation or Pretrial Services Office.

                                                                      RETURN

  I have executed this judgment as follows:




         Defendant delivered on                                                          to

 at      ~~~~~~~~~~~~~~~~-
                                                            with a certified copy of this judgment.




                                                                                                      UNITED STATES MARSHAL



                                                                            By ~~~~~~~~~~~~~~~~~~~~~~
                                                                                                DEPUTY UNITED STATES MARSHAL
A0245C
              Case:    5:06-cr-00071-JMH-CJS Doc #: 164 Filed: 09/07/16 Page: 3 of 6 - Page ID#: 1278
               (Rev. 09/11) Amended Judgment in a Criminal Case
               Sheet 3 -   Supervised Release                                                                  (NOTE: Identify Changes with Asterisks(*))
                                                                                                          Judgment -   Page      3        of         6
   DEFENDANT:                        James Clifton Barnett
   CASE NUMBER:                      5:06-CR-71-JMH-l

                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:

                                            FIVE YEARS on each count to run concurrently with each other

           The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
  from the custody of the Bureau of Prisons.
  The defendant shall not commit another federal, state, or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
  substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
  thereafter, as determined by the court.
   0        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
            future substance abuse. (Check, if applicable.)
   ~        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
   ~        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
  0         The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
            student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
           If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
  the Schedule of Payments sheet of th is judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
  conditions on the attached page.

                                                STANDARD CONDITIONS OF SUPERVISION
       I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
       2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
       4)    the defendant shall support his or her dependents and meet other family responsibilities;
       5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
             acceptable reasons;
       6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
       7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
             controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
       8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted
             ofa felony, unless granted permission to do so by the probation officer;
   I 0)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
             any contraband observed in plain view of the probation officer;
   11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
             officer;
   12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
             permission of the court; and
   13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
             criminal record, personal history, or characteristics and shall permit the probation officer to make such notifications and confirm
             the defendant's compliance with such notification requirement.
AO 245C
           Case:     5:06-cr-00071-JMH-CJS Doc #: 164 Filed: 09/07/16 Page: 4 of 6 - Page ID#: 1279
            (Rev. 09/11) Amended Judgment in a Criminal Case
            Sheet 3C - Supervised Release                                                               (NOTE: Identify Changes with Asterisks (*))


   DEFENDANT:                   James Clifton Barnett
                                                                                                   Judgment - Page
                                                                                                                     ----
                                                                                                                       4           of          6


   CASE NUMBER:                 5:06-CR-71-JMH-1

                                            SPECIAL CONDITIONS OF SUPERVISION

The defendant shall participate in a substance abuse treatment program and shall submit to periodic drug and alcohol
testing at the direction and discretion of the probation officer during the term of supervision. Said program may include
one or more cognitive behavioral approaches to address criminal thinking patterns and antisocial behaviors. The
defendant shall pay for the cost of treatment services to the extent he is able as determined by the probation officer.

The defendant shall abstain from the use of alcohol.

The defendant shall participate in a program of mental health treatment at the direction and discretion of the probation
officer, until such time as the defendant is released from the program by the probation officer.

The defendant shall participate in educational and/or vocational programming at the direction and discretion of the
probation officer during the term of supervision.

The defendant shall submit his person, residence and curtilage, office or vehicle to a search, upon direction and
discretion of the United States Probation Office.




                                                          ACKNOWLEDGMENT


Upon a finding of a violation of probation or supervised release, I understand that the Court may (I) revoke supervision, (2) extend the term
of supervision, and/or (3) modify the conditions of supervision.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


(Signed) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
        (Defendant)                                                          Date


          U. S. Probation Officer/Designated Witness                         Date
A0245C
             Case:    5:06-cr-00071-JMH-CJS Doc #: 164 Filed: 09/07/16 Page: 5 of 6 - Page ID#: 1280
              (Rev. 09/11) Amended Judgment in a Criminal Case
              Sheet 5 - Criminal Monetary Penalties                                                                      (NOTE: Identify Changes with Asterisks(*))
                                                                                                                   Judgment- Page      5            of         6
   DEFENDANT:                      James Clifton Barnett
                                                                                                                                     ----
   CASE NUMBER:                    5 :06-CR-71-JMH-l

                                                 CRIMINAL MONETARY PENALTIES
         The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                          Assessment                                                                                     Restitution
   TOTALS              $ 500.00                                          $       -0-                                 $

   D     The determination of restitution is deferred until
         entered after such determination.
                                                                ------. An Amended Judgment in a Criminal Case (AO 245C) will be
   D     The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
         in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be
         paid before the United States is paid.

   Name of Payee                                 Total Loss*                               Restitution Ordered                     Priority or Percentage




   TOTALS                               $ _ _ _ _ _ _ _ _ __                           $

   D      Restitution amount ordered pursuant to plea agreement


   D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
         fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
         to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

   D     The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

         D    the interest requirement is waived for        D     fine       D         restitution.

         D      the interest requirement for the        D       fine         D         restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters I 09A, 110, 11 OA, and l l 3A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
A0245C
               Case:    5:06-cr-00071-JMH-CJS Doc #: 164 Filed: 09/07/16 Page: 6 of 6 - Page ID#: 1281
                (Rev. 09/l I) Amended Judgment in a Criminal Case
                Sheet 6- Schedule of Payments                                                                  (NOTE: Identify Changes with Asterisks (*))
                                                                                                          Judgment -   Page       6       of          6
  DEFENDANT:                        James Clifton Barnett
  CASE NUMBER:                      5:06-CR-71-JMH-l

                                                     SCHEDULE OF PAYMENTS
  Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

  A      IZJ    Lump sum payment of$ 500.00 ~~~~~~~~
                                                                  due immediately, balance due
                D not later than                                   , or
                 IZI   in accordance with D C,       D    D,      D E,or            IZI F below; or

  B      0      Payment to begin immediately (may be combined with         D   C,        D   D,       0   F below); or

  C      D      Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                            (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

  D      D      Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                             (e.g., months or years), to commence                   (e.g., 30 or 60 days) after release from imprisonment to a
                term of supervision; or

  E      D      Payment during the term of supervised release will commence within               (e.g., 30 or 60 days) after release from
                imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

  F      IZI    Special instructions regarding the payment of criminal monetary penalties:
                Criminal monetary penalties are payable to:
                Clerk, U.S. District Court, Eastern District of Kentucky
                I 0 I Barr Street, Room 206, Lexington KY 40507

                INCLUDE CASE NUMBER WITH ALL CORRESPONDENCE

                The defendant shall participate in the Bureau of Prisons' Inmate Financial Responsibility Program.

 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
 due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of
 Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

  The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




  D      Joint and Several

         Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
         corresponding payee, if appropriate.




  D      The defendant shall pay the cost of prosecution.

  0      The defendant shall pay the following court cost(s):

  0      The defendant shall forfeit the defendant's interest in the following property to the United States:


 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
